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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES
DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
RUBINGH,
                                             HON. LINDA V. PARKER
      Plaintiffs,
v                                            MAG. R. STEVEN WHALEN

GRETCHEN WHITMER, in her official
capacity as Governor of the State of          DEFENDANTS’ EX PARTE
Michigan, JOCELYN BENSON, in her             MOTION TO EXCEED PAGE
official capacity as Michigan Secretary of       LIMIT FOR STATE
State and the Michigan BOARD OF STATE        DEFENDANTS’ RESPONSE
CANVASSERS,                                  TO PLAINTIFFS’ MOTION
                                                FOR A TEMPORARY
      Defendants,                              RESTRAINING ORDER

CITY OF DETROIT,

      Proposed Intervening Defendant,

ROBERT DAVIS,

      Proposed Intervening Defendant,

DEMOCRATIC NATIONAL
COMMITTEE and MICHIGAN
DEMOCRATIC PARTY,

     Proposed Intervening Defendant.
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  DEFENDANTS’ EX PARTE MOTION TO EXCEED PAGE LIMIT FOR
  STATE DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR
             TEMPORARY RESTRAINING ORDER

      Now come Defendants Governor Gretchen Whitmer, Secretary of State

Jocelyn Benson and the Board of State Canvassers, by counsel, and request that

this Court allow Defendants to file a brief in response to Plaintiffs’ motion for a

temporary restraining order that exceeds the 25-page limit established by L.R.

7.1(d)(3)(A) for good cause shown in light of the important nature of this elections

case. In support thereof, Defendants state:

      1.     While Plaintiffs’ brief in support of their motion for a temporary

             restraining was a meager 16 pages, Plaintiffs’ Amended Complaint

             consists of 233 paragraphs and was accompanied by dozens of

             exhibits, totaling over 900 pages.

      2.     Because the legal questions before this Court are numerous and

             distinct and require the discussion of multiple factors, along with an

             application of the law to the facts, Defendants require additional pages

             to adequately make these arguments.

      2.     Defendant’s brief is 55 pages in length.

      WHERFORE, due to the important nature of this case and the legal

questions presented, Defendants’ request to extend the page length to 55 pages is

warranted and reasonable in this case.

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                                           Respectfully submitted,

                                           DANA NESSEL
                                           Attorney General

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Dated: December 2, 2020

                             Certificate of Service

I hereby certify that on December 2, 2020, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

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